           Case 1:18-vv-00517-UNJ Document 61 Filed 07/25/22 Page 1 of 2




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-0517V
                                        (not to be published)


    SHERYL GIORDANO,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: June 23, 2022


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Meaghan Jepsen, Ransmeier & Spellman, PC, Concord, NH,, for Petitioner.

Debra A. Filteau Begley, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

       On April 9, 2018, Sheryl Giordano filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury related to vaccine
administration after receiving a Tdap vaccination on October 7, 2015. 3 (Petition at 1). On
August 31, 2021, a decision was issued awarding compensation to Petitioner based on
the parties’ stipulation. (ECF No. 52).

1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
3
 Petitioner also received an influenza vaccination in her left arm on September 24, 2015. Petition at 2.
She does not allege an injury from this vaccination. Id.
          Case 1:18-vv-00517-UNJ Document 61 Filed 07/25/22 Page 2 of 2




       Petitioner has now filed a motion for attorney’s fees and costs, dated March 30,
2022 (ECF No. 56), requesting a total award of $27,861.83 (representing $26,855.60 in
fees and $1,006.23 in costs). In accordance with General Order No. 9, Petitioner filed a
signed statement indicating that she incurred no out-of-pocket expenses. (ECF No. 56-
3). Respondent reacted to the motion on April 13, 2022, indicating that he “does not object
to the overall amount sought, as it is not an unreasonable amount to have been incurred
for proceedings in this case to date”. (ECF No. 57). Petitioner did not file a reply thereafter.

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $27,861.83 (representing $26,855.60 in fees and $1,006.23 in costs) as
a lump sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel.
In the absence of a timely-filed motion for review (see Appendix B to the Rules of the
Court), the Clerk shall enter judgment in accordance with this decision. 4

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




4
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                 2
